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                      UNITED STATES DISTRICT COURT

                     WESTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                      C R I M I N A L NO. 6:0 9 -03 2 0 - 0 8
                                               CIVIL NO. 6:15-2794
 VERSUS                                        JUDGE DOHERTY

 FELTON HOPKINS                                MAGISTRATE JUDGE HANNA

                      REPORT AND RECOMMENDATION

       Before the court is is the Motion to Correct Illegal Sentence filed by

 petitioner, Felton Hopkins, pursuant to 28 U.S.C. § 2255. [rec. doc. 923]. This

 matter was referred to the undersigned Magistrate Judge for review, report, and

 recommendation.

                             STATEMENT OF CLAIM

       On December 9, 2009, Hopkins was named in a multi-count indictment.

 [rec. doc. 3]. On November 18, 2010, he plead guilty to Counts Six and Seven of

 the Indictment charging Hopkins with use of a communication facility in causing

 or facilitating a drug trafficking crime, in violation of 21 U.S.C. § 843(b) and

 possession with intent to distribute cocaine in violation of 21 U.S.C. § 841(a)(1).

 [rec. docs. 312 and 313].

       Petitioner appeared for sentencing on July 9, 2012, at which time petitioner

 was sentenced to four years (48 months) on Count Six and ten years (120 months)

 on Count Seven, the sentences to run concurrently. [rec. doc. 622]. Petitioner's
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 Judgment of conviction was entered on this Court's docket on July 13, 2012. [rec.

 doc.623].

        Petitioner did not directly appeal his conviction and sentence. The instant

 Motion was signed on November 30, 2015, postmarked on December 2, 2015 and

 filed by the Clerk of this Court on December 4, 2015. Petitioner asserts that his

 sentence violates the principles set forth in Johnson v. United States, - - U.S. - - ,

 135 S.Ct. 2551 (2015) and that he received ineffective assistance of counsel at

 sentencing because counsel failed to object to the use of a prior distribution of

 cocaine conviction to enhance his sentence under the ACCA when the details of

 the crime were unavailable and hence, not proven to constitute a qualifying prior

 conviction.

                               LAW AND ANALYSIS

 Untimeliness of the Instant Motion

       Title 28 U.S.C. § 2255 provides a one-year statute of limitations for the

 filing of motions pursuant to § 2255. This limitation period generally runs from

 the date that the conviction becomes final. 28 U.S.C. § 2255(f)(1). Petitioner’s

 conviction became final on July 27, 2012, fourteen days (including holidays and

 weekends) after petitioner's judgment of conviction was entered on this Court's

 docket. See United States v. Plascencia, 537 F.3d 385, 388 (5th Cir. 2008).

 Petitioner therefore had one year, or until July 27, 2013 to file his § 2255 Motion
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 in this Court. The instant Motion was not filed until, at the earliest, November 30,

 2015.1 Thus, it is clear that petitioner’s claims cannot be considered under the

 period established by 28 U.S.C. § 2255(f)(1). Rather, petitioner must rely on one

 of three statutory exceptions to the general rule which can, in appropriate cases,

 extend the time for filing a § 2255 motion beyond the one-year period after final

 conviction. See 28 U.S.C. § 2255(f)(2)(3) and (4).

           Petitioner does not claim that the Government created an impediment to

 filing his motion, or that his claims rely on the newly discovered facts which could

 not have been discovered through the exercise of due diligence. Thus, subsections

 (2) and (4) are inapplicable.

           Rather, petitioner argues that his Motion is timely under subsection (3)

 because it was filed within one year from the date on which the Supreme Court, in

 Johnson, initially recognized a new rule of constitutional law that he contends is

 retroactively applicable to cases on collateral review. In Johnson, the Supreme

 Court held that the “residual clause” of the Armed Career Criminal Act to be

 unconstitutionally vague. However, the Fifth Circuit has recently held that

 Johnson is not retroactively applicable to cases on collateral review. In re

 Williams, - - F.3d - - , 2015 WL 7074261 (5th Cir. 11/12/2015) citing In re

 Rivero, 797 F.3d 986, 988 (11th Cir. 2015). Consequently, Johnson does not


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          Petitioner signed his Motion on November 30, 2015. Accordingly, the Court has given petitioner
the benefit of the "mailbox" rule.

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 provide an exception to the one year limitation period and provides no basis for

 relief herein. Id.

        Finally, petitioner is not entitled to equitable tolling. The Fifth Circuit has

 held that the statute of limitations in § 2255 may be equitably tolled in “rare and

 exceptional circumstances.” United States v. Patterson, 211 F.3d 927, 930 (5th

 Cir. 2000) quoting Davis v. Johnson, 158 F.3d 806, 811 (5th Cir. 1998). The

 Supreme Court, when assuming without deciding that equitable tolling is

 available, articulated that to be entitled to equitable tolling, the petitioner must

 show “that he has been pursuing his rights diligently” and “that some

 extraordinary circumstance stood in his way and prevented timely filing.”

 Lawrence v. Florida, 549 U.S. 327, 127 S.Ct. 1079, 1085 (2007) ; See also Pace v.

 DiGuglielmo, 544 U.S. 408, 418, 125 S.Ct. 1807,161 L.Ed.2d 669 (2005).

 Likewise, the Fifth Circuit has held that in order for equitable tolling to apply, the

 applicant must diligently pursue his relief. Coleman v. Johnson, 184 F.3d 398,

 403 (5th Cir. 1999); Cousin v. Lensing, 310 F.3d 843, 849 (5th Cir. 2002). The

 burden of proof concerning equitable tolling is on the petitioner. Phillips v.

 Donnelly, 216 F.3d 508, 511 (5th Cir. 2000).

        Petitioner has not met his burden of showing that rare, exceptional or

 extraordinary circumstances beyond his control prevented him from timely filing

 his § 2255 Motion. Indeed, the record does not support equitable tolling of the


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 statute of limitations in the instant case. The circumstances faced by petitioner

 were not extraordinary so as to provide a basis for equitable tolling. Moreover,

 even if they were, the petitioner has not shown that any extraordinary

 circumstances prevented him from timely filing his federal habeas claims or that

 he pursued his rights diligently. Accordingly, petitioner is not entitled to equitable

 tolling.

        For the foregoing reasons, the undersigned finds that Felton Hopkins'

 § 2255 Motion to Correct Illegal Sentence should be denied and dismissed

 because petitioner’s claims are barred by the one-year limitation period.

        Accordingly, IT IS RECOMMENDED that Felton Hopkins' Motion to

 Correct Illegal Sentence filed pursuant to Title 28 U.S.C. § 2255 be DENIED

 AND DISMISSED WITH PREJUDICE.

        Under the provisions of 28 U.S.C. Section 636(b)(1)(C) and Rule 72(b),

 parties aggrieved by this recommendation have fourteen (14) days from service of

 this Report and Recommendation to file specific, written objections with the Clerk

 of Court. A party may respond to another party’s objections within fourteen (14)

 days after being served with a copy of any objections or response to the District

 Judge at the time of filing.

        Failure to file written objections to the proposed factual findings and/or

 the proposed legal conclusions reflected in this Report and Recommendation


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 within fourteen (14) days following the date of its service, or within the time

 frame authorized by Fed.R.Civ.P. 6(b), shall bar an aggrieved party from

 attacking either the factual findings or the legal conclusions accepted by the

 District Court, except upon grounds of plain error. See Douglass v. United

 Services Automobile Association, 79 F.3d 1415 (5th Cir. 1996).

       Pursuant to Rule 11(a) of the Rules Governing Section 2255 Proceedings

 for the United States District Courts, this court must issue or deny a certificate of

 appealability when it enters a final order adverse to the applicant. Unless a Circuit

 Justice or District Judge issues a certificate of appealability, an appeal may not be

 taken to the court of appeals. Within fourteen (14) days from service of this

 Report and Recommendation, the parties may file a memorandum setting

 forth arguments on whether a certificate of appealability should issue. See 28

 U.S.C. § 2253(c)(2). A courtesy copy of the memorandum shall be provided to

 the District Judge at the time of filing.

       Signed at Lafayette, Louisiana this 7th day of December, 2015.



                                  ________________________________
                                  PATRICK J. HANNA
                                  UNITED STATES MAGISTRATE JUDGE
                                                    COPY SENT:

                                                    DATE: _________________
                                                             12/7/2015
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